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                                                           Form 1
                                       Individual Estate Property Record and Report                                                                  Page: 1-1

                                                        Asset Cases
Case No.:    16-00103 JMC                                                                Trustee Name:      (340480) Michael J. Hebenstreit
Case Name:         WATTS, EVA MARIE                                                      Date Filed (f) or Converted (c): 01/08/2016 (f)
                                                                                         § 341(a) Meeting Date:       02/24/2016
For Period Ending:       06/30/2018                                                      Claims Bar Date:      09/23/2016

                                   1                             2                      3                      4                    5                     6

                           Asset Description                  Petition/         Estimated Net Value     Property Formally     Sale/Funds             Asset Fully
                (Scheduled And Unscheduled (u) Property)    Unscheduled        (Value Determined By        Abandoned        Received by the       Administered (FA)/
                                                               Values                 Trustee,             OA=§554(a)           Estate             Gross Value of
                                                                              Less Liens, Exemptions,       abandon.                              Remaining Assets
  Ref. #                                                                         and Other Costs)

    1       Cash                                                      40.00                     40.00                                    0.00                          FA

    2       Deposits of money - : Teachers Credit                     40.00                     40.00                                    0.00                          FA
            Union

    3       Used household furnishings                               500.00                   500.00                                     0.00                          FA

    4       Everday clothing                                         300.00                   300.00                                     0.00                          FA

    5       38 Snub revolver                                         150.00                   150.00                                     0.00                          FA

    6       PERF 1 North Capital Indpls,IN 46204                 2,071.46                    2,071.46                                    0.00                          FA

    7       2012 Jeep Liberty 100000 Plus                        2,000.00                        0.00                                    0.00                          FA

    8       Income tax refunds (u)                                     0.00                      0.00                               1,794.00                           FA

   8        Assets Totals (Excluding unknown values)           $5,101.46                    $3,101.46                              $1,794.00                     $0.00



Major Activities Affecting Case Closing:

                                Tax refund
                                02/23/17 - She had foot surgery. wanted to know percentage of refund. I told her to send tax returns and we
                                could figure it out.
                                06/28/17 - Debtor called; she recv'd documents from Small Claims Court re: Westlane Financing re: balance
                                being reduced (will fax docs)
                                08/23/17 - Debtor called to find out balance due
                                10/02/17 - letter to Debtor re balance due
                                03/02/18 - Debtor called; received tax refund and wanted to confirm the balance. Will be mailing in final
                                payment.
                                04/06/18 - Assets fully administered; only claim is of Westlane Auto Financing to which UST has objected;
                                response period runs 4/13/18

Initial Projected Date Of Final Report (TFR): 01/02/2018                      Current Projected Date Of Final Report (TFR):             12/31/2018


                      07/30/2018                                                              /s/Michael J. Hebenstreit
                           Date                                                               Michael J. Hebenstreit
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                                                              Form 2
                                                                                                                                        Page: 2-1
                                              Cash Receipts And Disbursements Record
Case No.:              16-00103 JMC                                 Trustee Name:                   Michael J. Hebenstreit (340480)
Case Name:             WATTS, EVA MARIE                             Bank Name:                      Rabobank, N.A.
Taxpayer ID #:         **-***3150                                   Account #:                      ******4466 Checking Account
For Period Ending: 06/30/2018                                       Blanket Bond (per case limit): $1,190,587.50
                                                                    Separate Bond (if applicable): N/A
    1          2                          3                                4                             5                  6                    7

  Trans.    Check or        Paid To / Received From     Description of Transaction      Uniform       Deposit         Disbursement       Account Balance
   Date      Ref. #                                                                    Tran. Code       $                   $

 06/10/16     {8}        Eva Watts                    Income tax refund                1224-000               50.00                                    50.00

 06/30/16                Rabobank, N.A.               Bank and Technology Services     2600-000                                 10.00                  40.00
                                                      Fee

 07/07/16     {8}        Eva Watts                    Income tax refund                1224-000               50.00                                    90.00

 07/29/16                Rabobank, N.A.               Bank and Technology Services     2600-000                                 10.00                  80.00
                                                      Fee

 08/31/16     {8}        Eva Watts                    Income tax refund                1224-000               25.00                                   105.00

 08/31/16                Rabobank, N.A.               Bank and Technology Services     2600-000                                 10.00                  95.00
                                                      Fee

 09/30/16                Rabobank, N.A.               Bank and Technology Services     2600-000                                 10.00                  85.00
                                                      Fee

 10/03/16     {8}        Eva Watts                    Income tax refund                1224-000               25.00                                   110.00

 10/31/16                Rabobank, N.A.               Bank and Technology Services     2600-000                                 10.00                 100.00
                                                      Fee

 11/30/16                Rabobank, N.A.               Bank and Technology Services     2600-000                                 10.00                  90.00
                                                      Fee

 12/30/16                Rabobank, N.A.               Bank and Technology Services     2600-000                                 10.00                  80.00
                                                      Fee

 01/31/17                Rabobank, N.A.               Bank and Technology Services     2600-000                                 10.00                  70.00
                                                      Fee

 02/28/17                Rabobank, N.A.               Bank and Technology Services     2600-000                                 10.00                  60.00
                                                      Fee

 03/24/17     {8}        Eva Watts                    Income tax refund                1224-000           1,000.00                                   1,060.00

 03/31/17                Rabobank, N.A.               Bank and Technology Services     2600-000                                 10.00                1,050.00
                                                      Fee

 04/13/17     {8}        Eva Watts                    Income tax refund                1224-000              150.00                                  1,200.00

 04/25/17     {8}        Eva Watts                    Income tax refunds               1224-000              150.00                                  1,350.00

 04/28/17                Rabobank, N.A.               Bank and Technology Services     2600-000                                 10.00                1,340.00
                                                      Fee

 05/31/17                Rabobank, N.A.               Bank and Technology Services     2600-000                                 10.00                1,330.00
                                                      Fee

 06/30/17                Rabobank, N.A.               Bank and Technology Services     2600-000                                 10.00                1,320.00
                                                      Fee

 07/31/17                Rabobank, N.A.               Bank and Technology Services     2600-000                                 10.00                1,310.00
                                                      Fee

 08/31/17                Rabobank, N.A.               Bank and Technology Services     2600-000                                 10.00                1,300.00
                                                      Fee

 09/29/17                Rabobank, N.A.               Bank and Technology Services     2600-000                                 10.00                1,290.00
                                                      Fee

 10/31/17                Rabobank, N.A.               Bank and Technology Services     2600-000                                 10.00                1,280.00
                                                      Fee

                                                                                 Page Subtotals:         $1,450.00           $170.00      true



{ } Asset Reference(s)                                                                                             ! - transaction has not been cleared
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                                                                Form 2
                                                                                                                                                    Page: 2-2
                                                Cash Receipts And Disbursements Record
Case No.:                  16-00103 JMC                                  Trustee Name:                        Michael J. Hebenstreit (340480)
Case Name:                 WATTS, EVA MARIE                              Bank Name:                           Rabobank, N.A.
Taxpayer ID #:             **-***3150                                    Account #:                           ******4466 Checking Account
For Period Ending: 06/30/2018                                            Blanket Bond (per case limit): $1,190,587.50
                                                                         Separate Bond (if applicable): N/A
    1          2                            3                                  4                                   5                   6                      7

  Trans.    Check or          Paid To / Received From        Description of Transaction          Uniform        Deposit           Disbursement       Account Balance
   Date      Ref. #                                                                             Tran. Code        $                     $

 11/30/17                  Rabobank, N.A.                  Bank and Technology Services         2600-000                                    10.00                  1,270.00
                                                           Fees

 12/29/17                  Rabobank, N.A.                  Bank and Technology Services         2600-000                                    10.00                  1,260.00
                                                           Fees

 01/31/18                  Rabobank, N.A.                  Bank and Technology Services         2600-000                                    10.00                  1,250.00
                                                           Fees

 02/28/18                  Rabobank, N.A.                  Bank and Technology Services         2600-000                                    10.00                  1,240.00
                                                           Fees

 03/05/18     {8}          Eva M Watts                                                          1224-000               344.00                                      1,584.00

 03/30/18                  Rabobank, N.A.                  Bank and Technology Services         2600-000                                    10.00                  1,574.00
                                                           Fees

 04/30/18                  Rabobank, N.A.                  Bank and Technology Services         2600-000                                    10.00                  1,564.00
                                                           Fees

 05/31/18                  Rabobank, N.A.                  Bank and Technology Services         2600-000                                    10.00                  1,554.00
                                                           Fees

 06/29/18                  Rabobank, N.A.                  Bank and Technology Services         2600-000                                    10.00                  1,544.00
                                                           Fees

              Account          ******4466 Checking Account
                                  Balance Forward                                  0.00
                       8                    Deposits                        1,794.00              0                    Checks                                     0.00
                       0          Interest Postings                                0.00          25          Adjustments Out                                 250.00
                                                Subtotal                    1,794.00              0            Transfers Out                                      0.00
                       0            Adjustments In                                 0.00                                   Total                              250.00
                       0                 Transfers In                              0.00
                                                   Total                    1,794.00


                                                                                          Page Subtotals:           $344.00                $80.00     true




{ } Asset Reference(s)                                                                                                        ! - transaction has not been cleared
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                                                       Form 2
                                                                                                                                    Page: 2-3
                                       Cash Receipts And Disbursements Record
Case No.:           16-00103 JMC                                Trustee Name:                   Michael J. Hebenstreit (340480)
Case Name:          WATTS, EVA MARIE                            Bank Name:                      Rabobank, N.A.
Taxpayer ID #:      **-***3150                                  Account #:                      ******4466 Checking Account
For Period Ending: 06/30/2018                                   Blanket Bond (per case limit): $1,190,587.50
                                                                Separate Bond (if applicable): N/A

                                       Net Receipts:               $1,794.00
                           Plus Gross Adjustments:                     $0.00
                         Less Payments to Debtor:                      $0.00
                 Less Other Noncompensable Items:                      $0.00

                                         Net Estate:               $1,794.00




                                                                                                   NET                      ACCOUNT
                                 TOTAL - ALL ACCOUNTS                        NET DEPOSITS     DISBURSEMENTS                 BALANCES
                                 ******4466 Checking Account                        $1,794.00          $250.00                   $1,544.00

                                                                                    $1,794.00                  $250.00              $1,544.00
